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                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION

In re:                                                Case No.: 12-21406-BKC-AJC
                                                      Chapter 13
FRANCISCO AMERICO RIV AS,

         Debtor(s).


         MOTION TO COMPEL CREDITOR TO TURNOVER FUNDS AND
            CERTIFICATE OF SERVICE OF NOTICE OF HEARING

         COMES NOW, Nancy K. Neidich, Standing Chapter 13 Trustee, by and through

the undersigned counsel, and moves this Honorable Court to compel FIA Card Services,

N.A. to turnover $1,299.43 to the Trustee and as grounds therefore states:

         1. FIA Card Services, N.A. ("Creditor") filed their proof of claim number 1.

         2. On or about October 3, 2017, the Trustee sent a letter to the Creditor via

certified mail requesting $1,299 .43 be turned over to the Trustee. See Exhibit A -

Trustee's letter and USPS certified tracking confirmation.

         3. The Trustee requests the Court enter an order directing the Creditor to turnover

$1,299 .43 to the Trustee.

         WHEREFORE, for the above stated reasons, the Trustee respectfully requests this

Honorable Court enter an order compelling the Creditor to return the $1,299 .43

overpayment to the Trustee and for any further relief as may be deemed just and proper.
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                                                        P.O. BOX 279806
                                                        MIRAMAR, FL 33027

                            CERTIFICATE OF SERVICE

       I CERTIFY that the forgoing has been served by CMECF notices of electronic

filing upon the Counsel for the Debtor(s) on       uf<.NUA~Y   3o,   z..01g'       and:

By First Class U.S. Mail to:


Bank of America, N.A. (USA)
and MBNA America Bank, N.A.
PO Box 15102
Wilmington, DE 19886-5102

Bank of America N.A.
c/o CT Corporation System, Registered Agent
1200 South Pine Island Road
Plantation, FL 33324

By Certified Mail:
Bank of America N .A.
Attn: Brian T. Moynihan, CEO
100 North Tryon Street
Charlotte, NC 28202
Certified Mail No. 7015 3010 0000 8644 2328
     7015 3010 0000 8644 2328




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6     OCTOBER
      2017©         8:00pm©


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October 6, 2017 at 12:56 pm
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WILMINGTON, DE 19886




   Tracking History                                                                               v


   Product Information                                                                            v


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• Automatically track the packages you're expecting.

• Set up email and text alerts so you don't need to enter tracking numbers.

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                                   (https://reg.usps.com/entreg/RegistrationAction_input?
*NOTE: Black and white (grayscale) images show the outside, front of letter-sized envelopes and
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(https://www.usps.com/)
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OFFICE OF THE CHAPTER                     13 STANDING TRUSTEE
SOUTHERN DISTRICT OF FLORIDA


                                                                           NANCY K. NEIDICH, TRUSTEE
                                                                                          P.O. Box 279806
                                                                                    Miramar, Florida 33027
                                                                                            (954) 443-4402
                                                                                 Facsimile: (954) 443-4452

October 3, 2017

VIA CERTIFIED MAIL #7016 0910 0001 9204 6631
FIA Card Services, NA
PO Box 15102
Wilmington, DE 19886-5102

RE:     Francisco Americo Rivas
        Case No.: 12-21406-AJC

Dear FIA Card Services, NA:

In connection with an audit of the above-referenced Chapter 13 file, I have found that this office
inadvertently disbursed to your company an over disbursement of $1,299.43. Therefore, the over-
disbursement of $1,299.43 must be returned to this office. Please mail the refund check to Nancy K.
Neidich Trustee, PO Box 278783, Miramar, FL 33027-8783.

             ACCOUNT NO:                             OVERPAYMENT AMOUNT:
                7989                                      $1,299.43

Please remit $1,299.43 to the Trustee's office within twenty (20) days of this notice. This will allow us to
properly administer the case and provide that all creditors receive the proper amount.

Thank you for your anticipated cooperation. If you have any questions, please contact this office.

Sincerely,
OFFICE OF THE CHAPTER 13 STANDING TRUSTEE



Nancy K. Neidich, Trustee
Re: Clerk Cl #1 TT Cl #40
